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AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                                 (NOTE: Identify Changes with Asterisks (*))
                       Sheet 1                                                                                          United States District Court
                                                                                                                          Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                                       ENTERED
                                                 SOUTHERN DISTRICT OF TEXAS                                               November 15, 2022
                                                     Holding Session in Laredo                                            Nathan Ochsner, Clerk

         UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                                v.
       ABRAHAM JOAQUIN CANELA                                               CASE NUMBER: 5:20CR01795-S-002

                                                                            USM NUMBER: 08713-509

Date of Original Judgment: October 13, 2022                                 Adrian Chapa, III
                                     (Or Date of Last Amended Judgment)     Defendant’s Attorney
THE DEFENDANT:
 pleaded guilty to count(s) 1 on December 3, 2020.
 pleaded nolo contendere to count(s)
  which was accepted by the court.
 was found guilty on count(s)
  after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section            Nature of Offense                                                                    Offense Ended             Count
18 U.S.C. §§ 554 & 2       Smuggling Goods from the United States                                                   09/14/2020               1
☐ See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through 6                of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s)
    Count(s)                                                dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                          October 13, 2022
                                                                          Date of Imposition of Judgment


                                                                          ReservedForJudgeSignature
                                                                          Signature of Judge


                                                                          DIANA SALDAÑA
                                                                          UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                          November     15, 2022
                                                                          ReservedForSignDate
                                                                          Date
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AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                        (NOTE: Identify Changes with Asterisks (*))
                       Sheet 2 – Imprisonment
                                                                                             Judgment — Page       2       of        6
 DEFENDANT:              ABRAHAM JOAQUIN CANELA
 CASE NUMBER:            5:20CR01795-S-002

                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: *51 months. In addition, the sentence will run partially concurrent and partially consecutive to the 48 months imposed
in Docket No. 4:20CR00026-019. Specifically, the Court orders 27 months to be served consecutively and 24 months to be
served concurrently for a total of 75 months.
The defendant was advised of the right to appeal the sentence, including the right to appeal in forma pauperis, upon proper
documentation.
 See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in a BOP facility in Beaumont, Texas as long as the security needs of the Bureau of
  Prisons are met.
  The defendant participates in the 500-hour Residential Drug Abuse Program (RDAP) program.
  The defendant participates in a vocational training program.
 The defendant is remanded to the custody of the United States Marshal.


 The defendant shall surrender to the United States Marshal for this district:
       at                             on
       as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.


                                                             RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                 to

 at                                              , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL




                                                                   By
                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245C (Rev. 09/19)      Amended Judgment in a Criminal Case                                                   (NOTE: Identify Changes with Asterisks (*))
                          Sheet 3 – Supervised Release
                                                                                                           Judgment — Page        3      of        6
 DEFENDANT:                 ABRAHAM JOAQUIN CANELA
 CASE NUMBER:               5:20CR01795-S-002

                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 3 years, concurrent with 2 years imposed in Docket
No. 4:20CR00026-019, for a total of 3 years.

                                                   MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
      and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
                  (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check
            if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
            the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
            student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
     See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
      imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
      report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
      the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
      as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
      is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
      expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
      you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
      officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
      or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
      the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
      notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
      have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
14.   If restitution is ordered, the defendant must make restitution as ordered by the Judge and in accordance with the applicable provisions of 18 U.S.C.
      §§ 2248, 2259, 2264, 2327, 3663A and/or 3664. The defendant must also pay the assessment imposed in accordance with 18 U.S.C. § 3013.
15.   The defendant must notify the U.S. Probation Office of any material change in the defendant’s economic circumstances that might affect the
        defendant’s ability to pay restitution, fines, or special assessments.
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AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                (NOTE: Identify Changes with Asterisks (*))
                       Sheet 3D – Supervised Release
                                                                                     Judgment — Page       4       of        6
 DEFENDANT:              ABRAHAM JOAQUIN CANELA
 CASE NUMBER:            5:20CR01795-S-002

                                  SPECIAL CONDITIONS OF SUPERVISION

Substance Abuse Treatment, Testing, and Abstinence
You must participate in an outpatient substance-abuse treatment program and follow the rules and regulations of that
program. The probation officer will supervise your participation in the program, including the provider, location, modality,
duration, and intensity. You must pay the costs of the program, if financially able.

You may not possess any controlled substances without a valid prescription. If you do have a valid prescription, you must
follow the instructions on the prescription.

You must submit to substance-abuse testing to determine if you have used a prohibited substance, and you must pay the
costs of the testing if financially able. You must not attempt to obstruct or tamper with the testing methods.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances, including
synthetic marijuana or bath salts, that impair a person's physical or mental functioning, whether or not intended for human
consumption, except as with the prior approval of the probation officer.
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AO 245C (Rev. 09/19)    Amended Judgment in a Criminal Case                                            (NOTE: Identify Changes with Asterisks (*))
                        Sheet 5 – Criminal Monetary Penalties
                                                                                                  Judgment — Page       5       of        6
    DEFENDANT:            ABRAHAM JOAQUIN CANELA
    CASE NUMBER:          5:20CR01795-S-002

                                         CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                Assessment               Restitution            Fine                  AVAA Assessment1           JVTA Assessment2
TOTALS          $100.00                  $0.00                  $0.00                 $0.00                      $0.00

 See Additional Terms for Criminal Monetary Penalties.
 The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will
  be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                                           Total Loss3       Restitution Ordered       Priority or Percentage
                                                                                  $                         $

 See Additional Restitution Payees.
TOTALS                                                                           $                           $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       the interest requirement is waived for the  fine  restitution.

       the interest requirement for the  fine  restitution is modified as follows:


     Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.
1
      Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2
      Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
3
      Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev. 09/19)     Amended Judgment in a Criminal Case                                            (NOTE: Identify Changes with Asterisks (*))
                         Sheet 6 – Schedule of Payments
                                                                                                   Judgment — Page       6       of        6
    DEFENDANT:             ABRAHAM JOAQUIN CANELA
    CASE NUMBER:           5:20CR01795-S-002

                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A         Lump sum payment of $                                due immediately, balance due
          not later than               , or
          in accordance with  C,  D,  E, or  F below; or
B         Payment to begin immediately (may be combined with  C,  D, or  F below); or
C         Payment in equal                            installments of $                   over a period of                                      ,
           to commence                               after the date of this judgment; or
D         Payment in equal                            installments of $                 over a period of                                        ,
           to commence                               after release from imprisonment to a term of supervision; or
E         Payment during the term of supervised release will commence within                         after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F         Special instructions regarding the payment of criminal monetary penalties:
           Payable to:     Clerk, U.S. District Court
                           1300 Victoria, Ste. 1131
                           Laredo, TX 78040
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
     Joint and Several
Case Number
Defendant and Co-Defendant Names                                                  Joint and Several             Corresponding Payee,
(including defendant number)                                   Total Amount           Amount                       if appropriate

     See Additional Defendants and Co-Defendants Held Joint and Several.
     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
